     Case 23-14018-MBK            Doc 81      Filed 07/01/24 Entered 07/01/24 15:48:24           Desc Main
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       UNITED STATES BANKRUPTCY COURT
       DISTRICT OF NEW JERSEY
       Caption in Compliance with D.N.J. LBR 9004-1                      Order Filed on July 1, 2024
       Denise Carlon, Esq.                                               by Clerk
       KML Law Group, P.C.                                               U.S. Bankruptcy Court
       701 Market Street, Suite 5000                                     District of New Jersey
       Philadelphia, PA 19106
       Main Number: (609) 250-0700
       dcarlon@kmllawgroup.com
       Attorneys for the Secured Creditor
       Wells Fargo Bank, N.A., as Trustee for Carrington
       Mortgage Loan Trust, Series 2006-FRE1 Asset-Backed
       Pass-Through Certificates
       In re:
       Rodney Jose Kelly                                      Case No: 23-14018 MBK
                                Debtor
                                                              Judge:     Michael      B.

                                                              Kaplan Chapter: 13


                            Recommend Local Form            x Followed     Modified




                ORDER GRANTING MOTION FOR RELIEF FROM STAY

     The relief set forth on the following page is hereby ordered ORDERED.




DATED: July 1, 2024
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       Upon the motion of Wells Fargo Bank, N.A., as Trustee for Carrington Mortgage Loan
Trust, Series 2006-FRE1 Asset-Backed Pass-Through Certificates, under Bankruptcy Code
section 362(a) for relief from the automatic stay as to certain property as hereinafter set forth,
and for cause shown, it is


       ORDERED that the motion is granted and the stay is terminated to permit the movant to
institute or resume and prosecute to conclusion one or more actions in the court(s) of appropriate
jurisdiction to pursue the movant’s rights in the following:

               Real Property More Fully Described as:

                Land and premises commonly known as 9 Spindletop Lane, Willingboro, NJ 08046

                Personal Property More Fully Described as:


       It is further ORDERED that the movant, its successors or assignees, may proceed with its
rights and remedies under the terms of the subject mortgage and pursue its state court remedies
including, but not limited to, taking the property to sheriff’s sale, in addition to potentially
pursuing other loss mitigation alternatives, including, but not limited to, a loan modification,
short sale or deed-in-lieu foreclosure. Additionally, any purchaser of the property at sheriff’s sale
(or purchaser’s assignee) may take any legal action for enforcement of its right to possession of
the Property.
       It is further ORDERED that the movant may join the debtor and any trustee appointed in
this case as defendants in its action(s) irrespective of any conversion to any other chapter of the
Bankruptcy Code.
       It is further ORDERED that the movant shall be permitted to reasonably communicate
with Debtor(s) and Debtor(s)’ counsel to the extent necessary to comply with applicable non-
bankruptcy law.
       It is further ORDERED that the Trustee is directed to cease in making any further
distributions to the Creditor.
       The movant shall serve this order on the debtor, any trustee and any other party who
entered an appearance on the motion.
                                                                                       rev. 11/14/2023
